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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION


     In re:                                                            Chapter 11

     23ANDME HOLDING CO., et al.,1                                     Case No. 25-40976-357

                             Debtors.                                  Jointly Administered


                                      CERTIFICATE OF SERVICE

        I, Eladio Perez, declare under penalty of perjury that I am employed by Kroll
 Restructuring Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the
 above-captioned chapter 11 cases.

         On May 12, 2025, at my direction and under my supervision, employees of Kroll caused
 the following document to be served by the method set forth on the Master Service List attached
 hereto as Exhibit A:

             Order (I) Authorizing Matthew Kvarda to Act as Foreign Representative; and (II)
              Granting Related Relief [Docket No. 392]


 Dated: May 13, 2025
                                                                                     /s/ Eladio Perez
                                                                                       Eladio Perez




 1
  The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
 Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings Inc.
 (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC (3447),
 LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of these chapter 11
 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.


                                                                                                    SRF 88355
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                                                                                                    Master Service List
                                                                                                 Served as set forth below

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